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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




UNITED STATES OF AMERICA,                    )      Case No.: 1:07 CR 271- 12
                                             )
       Plaintiff                             )      JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )      ORDER ACCEPTING PLEA
DOUGLAS WHITE,                               )      AGREEMENT, JUDGMENT AND
                                             )      REFERRAL TO U. S. PROBATION
       Defendant                             )      OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Nancy A. Vecchiarelli, regarding the change of plea hearing of Douglas White,

which was referred to the Magistrate Judge with the consent of the parties.

       On May 8, 2007, the government filed a twenty-two count indictment against Defendant

Douglas White, for Conspiracy to Commit Bank Fraud as defined in Title 18, United States

Code, Section 371; Bank Fraud as defined in Title 18, United States Code, Section 1344(1)(2);

Forging Securities as defined in Title 18, United States Code, Section 513(a); and Theft of Mail

as defined in Title 18, United States Code, Section 1708.

        On May 29, 2007, a hearing was held in which Defendant White, entered a plea of not

guilty before Magistrate Judge Hemann. On September 1, 2007, Magistrate Judge Nancy A.
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Vecchiarelli received Defendant White’s plea of guilty to counts 1, 2, and 9, and issued a Report

and Recommendation (“R&R”) concerning whether the plea should be accepted and a finding of

guilty entered. Magistrate Judge Perelman filed his R&R on September 10, 2007.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

White is found to be competent to enter a plea and to understand his constitutional rights. He is

aware of the charges and of the consequences of entering a plea. There is an adequate factual

basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant White is adjudged guilty of Count One in violation of Title 18

Section 371; Count Two in violation of Title 18 Section 1344(1)(2); Count Nine in violation of

Title 18 Section 513(a) . This matter is referred to the U. S. Probation Department for the

completion of a pre-sentence investigation and report. Sentencing will be on December 13,

2007, at 1:00 p.m. in Courtroom 17-A.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
